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Research Article


Inhibition of PDE5 by Sulindac Sulfide Selectively                                                                              i        EXHIBIT
Induces Apoptosis and Attenuates Oncogenic
Wnt/(3-Catenin-Mediated Transcription in                                                                                        I          3?
                                                                                                                                ~ /?Jllz-zfl
Human Breast Tumor Cells
Heather N. Tinsley 1, Bernard D. Gary', Adam B. Keeton 1, Wenyan Lu 1, Yonghe                  Li1,   and Gary A. Piazza2



Abstract
              Nonsteroidal anti-inflammatory drugs (NSAID) such as sulindac sulfide (SS) display promising
           antineoplastic properties, but toxicities resulting from COX inhibition limit their clinical use.
           Although COX inhibition is responsible for the anti-inflammatory activity of SS, recent studies
           suggest that phosphodiesterase (PDE) 5 inhibition and activation of cyclic guanosine monophos-
           phate ( cGMP) signaling are closely associated with its ability to induce apoptosis of tumor cells.
           However, the underlying mechanisms responsible for apoptosis induction, factors that influence
           sensitivity of tumor cells to SS, and the importance of PDES for breast tumor cell growth have not
           been established. Here we show that SS can induce apoptosis of breast tumor cells, which predomi-
           nantly rely on PDES for cGMP hydrolysis but not normal mammary epithelial cells, which rely on
           PDE isozyrnes other than PDES for cGMP hydrolysis. Inhibition of PDES and activation of protein
           kinase G (PKG) by SS was associated with increased P-catenin phosphorylation, decreased P-catenin
           mRNA and protein levels, reduced P-catenin nuclear localization, decreased T-cell factor/lymphoid
           enhancer factor (Tcf/Lef) promoter activity, and decreased expression of Wnt/P-catenin-regulated
           proteins. Suppression of PDES with siRNA or known PDES inhibitors was sufficient to selectively
           induce apoptosis and attenuate P-catenin-mediated transcription in breast tumor cells with minimal
           effects on normal mammary epithelial cells. These findings provide evidence that SS induces apoptosis
           of breast tumor cells through a mechanism involving inhibition of PDES and attenuation of oncogenic
           Wnt/P-catenin-mediated transcription. We conclude that PDES represents a novel molecular target
           for the discovery of safer and more efficacious drugs for breast cancer chernoprevention. Cancer Prev
           Res; 4(8}; 1275-84. ©2011 AACR.



Introduction                                                                 lesions and ultimately metastatic disease. Because there
                                                                             are multiple opportunities for early intervention, cherno-
   As the most commonly diagnosed cancer and the second                      prevention is widely accepted as a promising approach for
leading cause of cancer-related mortality in women in the                    reducing the incidence, morbidity, and mortality rates
United States, breast cancer remains a major public health                   associated with breast cancer (3).
concern (1). Unfortunately, the rate of breast cancer inci-                     Recent epidemiologic studies have shown that the non-
dence has remained relatively unchanged in the past 30                       steroidal anti-inflammatory drugs (NSAJD) can markedly
years, and more than 40% of breast cancer cases worldwide                    reduce the risk of breast cancer recurrence in patients
continue to result in death ( 1, 2). Breast cancer develops                  previously diagnosed with ductal carcinoma in situ (DCIS)
through a process that occurs over a number of years and                     or invasive disease (4). The NSAJDs have also been shown
involves the accumulation of genetic mutations, which                        to significantly reduce the risk of de nova disease develop-
promote progression of normal tissue to hyperplastic                         ment with no apparent discrimination between estrogen
                                                                             receptor (ER) positive or the more difficult to treat ER
                                                                             negative forms of the disease (5). Commonly used to treat
Authors' Affiliation: 'Drug Discovery Division, Southern Research Insti-
                                                                             various inflammatory conditions, NSAJDs suppress the
tute, Birmingham, Alabama; 2Mitchell Cancer Institute, University of South
Alabama, Mobile, AL     '                                                    formation of proinflammatory prostaglandins by inhibit-
Corresponding Author: Gary A. Piazz a, Mitchell Cancer Institute,            ing the COX enzymes (6). Although COX inhibition is
University of South Alabama, 1660 Springhill Avenue, Mobile, AL              responsible for their anti-inflammatory efficacy, this
36604. Phone: 251-445-8412; E-mail: gpiazz a@usouthal.edu                    mechanism is also associated with potentially fatal side
doi: 10.1158/1940-6207.CAPR-11-0095                                          effects, including gastrointestinal ulcers and bleeding, renal
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       Consequently, these toxicities have precluded the wide-        PDE5-specific siRNA constructs were obtained from SA
       spread use of NSAJDs and COX-2-selective inhibitors for        Biosciences.
       cancer chemoprevention.
          Because inflammation is closely associated with tumor-      Cells and cell culture
       igenesis and COX-2 has been shown to be overexpress-             The human breast tumor cell lines MDA-MB-231 and
       ed in precancerous and malignant lesions (8, 9), COX-2         ZR75-l were obtained from American Type Culture Col-
       inhibition and the suppression of prostaglandin synthesis      lection (ATCC) and grown under standard cell culture
       is widely accepted as being the primary mechanism              conditions in RPMI 1640 medium containing 5% FBS
       responsible for the anticancer activity of the NSAIDs.         at 37°C in a humidified atmosphere with 5% CO2•
        However, numerous studies have concluded that a               Human mammary epithelial cells (HMEC) were obtained
       COX-independent mechanism may either contribute                from Lonza and grown according to the manufacturer's
       to or be fully responsible for the chemopreventive activity    specifications.
       of NSAIDs (10, 11). For example, the sulfone metabolite
       of sulindac has been shown to inhibit tumorigenesis            Growth assay
       in various experimental models, including chemical-               Microtiter plates (96-well) were seeded at a density
       induced mammary tumorigenesis, despite its inability           of 5,000 cells per well. For drug assays, cells were incu-
       to inhibit COX (12-15).                                        bated at 37°C for 72 hours following drug treatment.
          Cyclic guanosine monophosphate phosphodiesterases           For siRNA assays, cells were transfected with OptiMEM
       ( cGMP PDE), a group of enzymes responsible for nega-          media containing 0.5% SureFECT transfection reagent
       tively regulating cGMP signaling by catalyzing the hydro-      and 200 nmol/L of either negative control or PDE5A
       lysis of the second messenger, cGMP, have previously been      siRNA and incubated at 37°C for 24 hours prior to
       reported to be inhibited by sulindac sulfone as well certain   treatment or 96 hours if untreated. The effect of treatment
       NSAJDs, which suggests that this family ofisozymes may be      on growth was measured with the CellTiter-Glo Assay
       an important off-target effect that is responsible for or      (Promega).
       contributes to the anti neoplastic properties of this impor-
       tant class of chemopreventive drugs (16-18). Recently, our     Apoptosis assay
       laboratory has shown that the COX inhibitory sulfide              Microtiter plates (96-well) were seeded at a density of
       metabolite of sulindac can preferentially inhibit the          10,000 cells per well. For drug assays, cells were incubated
       cGMP-specific PDE5 isozyme, resulting in elevation of          at 37°C for 6 hours following treatment. For siRNA assays,
       intracellular cGMP levels and activation of protein kinase     cells were transfected with OptiMEM media containing
       G (PKG). The PDE5 inhibitory activity of SS was closely        0.5% SureFECT transfection reagent and 200 nmol/L
       associated with its ability to inhibit tumor cell growth and   negative control or PDE5A siRNA and incubated at 37°C
       induce apoptosis (18, 19). However, neither the mechan-        for 96 hours. Activity of caspases 3 and 7 was measured
       ism by which activation of PKG promotes apoptosis of           using the Caspase-Glo 3/7 Assay (Promega).
       tumor cells nor the role of PDE5 expression in breast tumor
       cell growth and survival has been well defined.                Proliferation assay
          Here we show that siRNA knockdown of PDE5 is suffi-            Cells were seeded at a density of 1 x 10 6 cells per 10-cm
       cient to induce apoptosis of human breast tumor cells and      tissue culture dish and transfected with OptiMEM media
       that selective inhibition of PDE5 activity through use of      containing 0.5% SureFECT transfection reagent and
       either siRNA or pharmacologic inhibitors can suppress          200 nmol/L of either negative control or PDE5A siRNA
       P-catenin transcriptional activity. In addition, we show       then incubated at 37°C for 72 hours prior to the addition of
       that PDE5 expression is associated with the sensitivity of     10 µmol/L EdU. After 24 hours of incubation with EdU,
       breast tumor cells to SS. These studies show an important      cells were harvested and analyzed using the Click-iT EdU
       role of PDE5 in breast tumor cell survival and suggest that    Alexa Fluor 488 Proliferation Assay (Jnvitrogen) according
       targeting this isozyme could lead to the discovery of new      to manufacturer's specifications. The percentage of prolife-
       breast cancer chemopreventive drugs with enhanced effi-        rating cells was quantified using a Guava EasyCyte Plus
       cacy and reduced toxicity.                                     flow cytorneter. A minimum of 5,000 events were collected
                                                                      for each treatment group with use of minimal electronic
       Materials and Methods                                          compensation.

       Drugs and reagents                                             Semiquantitative real-time PCR
          Sulindac sulfide and milrinone were purchased from             MDA-MB-231 cells were seeded at a density of 1.5 x 106
       Sigma-Aldrich and EHNA and MY5445 from Enzo Life               cells in T-75 flasks. After 24 hours, media was replaced with
       Sciences. Sildenafil was a generous gift from Pfizer.          serum-free RPMI. After 18 hours of serum starvation, cells
       Tadalafil was extracted from pharmacy obtained tablets         were treated with compound or vehicle control in serum-
       with dimethyl sulfoxide (DMSO) following pulveriza-            free media. After 4 hours of incubation with compound,
       tion. DMSO was used as vehicle for all compounds un-           cells were lysed and RNA was extracted using the AxyPrep
       less otherwise noted. SureFECT transfection reagent and        Multisource Total RNA Miniprep Kit (Axygen) according



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                                                                           PDE5 Is Necessary for Breast Tumor Cell Growth




to manufacturer's protocol. RNA (500 ng) was then reverse     488 fluorescence with the nuclear stain was measured
transcribed to cDNA using the RT2 First Strand Synthesis      using Acapella image analysis software (Perkin Elmer).
Kit (SA Biosciences) according to manufacturer's speci-
fications. The expression of Wnt-related genes such as        Tcf/Lef promoter activity assay
those encoding P-catenin and cyclin Dl was then deter-           ZR75-l cells were plated in 24-well tissue culture-treated
mined using the Wnt Signaling PCR Array (SA Biosciences)      plates. After 24 hours of incubation, cells were transiently
in 96-well format. With the exception of performing           transfected with 0.1 µg of Super8XTOPF!ash construct
60 amplification cycles, the assay was conducted according    (kindly provided by Dr. Randall T Moon, University of
to manufacturer's specifications using an Eppendorf Real      Washington, Seattle, WA) and 0.1 µg P-galactosidase-
Plex thermal cycler.                                          expressing vector (Promega). After 24 hours of transfection,
                                                              cells were treated with compound or vehicle control for
Cell lysis                                                    24 hours. After treatment, cells were lysed and luciferase
   Cells were lysed and protein concentrations determined     and P-galactosidase activities were measured using assay
as described previously ( 18).                                systems from Promega. Luciferase activity was normalized
                                                              to P-galactosidase activity.
PDE assay
   PDE activity in cell lysates was determined using the      Experimental design and data analysis
IMAP PDE assay as previously described (18). For experi-         Drug effects on cell growth and PDE acuvity were
ments involving siRNA, 6-well tissue culture-treated plates   measured and the potency expressed as an IC 50 value,
were seeded at a density of 200,000 cells per well, imme-     which is the concentration resulting in 50% inhibi-
diately transfected as described above, and incubated at      tion when compared with the vehicle control. Dose-
3 7°C for 96 hours prior to cell lysis.                       response curves were constructed using Prisms software
                                                              (GraphPad), which calculates IC 50 values using a 4-para-
cGMP assay                                                    meter logistic equation. Experiments were carried out
  Intracellular cGMP levels were measured as previously       with a minimum of 3 replicates per data point and each
described (18).                                               experiment was carried out a minimum of 3 times to
                                                              verify reproducibility. Graphs were constructed from a
Immunoblotting                                                single representative experiment and values represent a
   PDE primary antibodies were purchased from GeneTex.        comparison between drug treatment at the specified con-
All other primary and secondary antibodies were purchased     centration and untreated controls. Error bars represent
from Cell Signaling Technology. Cell lysates (15 µg pro-      SEM. Each data set was subjected to a normal quantile
tein) were separated by SOS-PAGE in a 12% PAGE followed       plot test for nonnormality. Calculation of P values in
by electrophoretic transfer to a nitrocellulose membrane.     normally distributed sample sets was done by comparing
The membranes were blocked with 5% nonfat dry milk            the specified treatment group to vehicle-treated controls
(p-VASPse,239 ) or 5% bovine serum albumin (BSA) in TBS       using a Student's t test.
containing 0.05% Tween 20. Membranes were incubated
with primary antibodies at 4°C overnight then with            Results
secondary horseradish peroxidase-conjugated antibody
for 2 hours at room temperature. Protein bands were           Tumorigenicity of human breast cells and sensitivity
visualized using SuperSignal West Pico Enhanced Chemi-        to SS correlate with PDES expression
luminescence Reagent (Pierce).                                  To determine the role of PDES inhibition in mediat-
                                                              ing the anticancer properties of SS, we determined
13-Catenin imaging assay                                      the sensitivity of estrogen receptor-positive and -negative
   Cells were seeded in 96-well optical bottom microtiter     human breast tumor cell lines, MDA-MB-231 and ZR? 5-1,
plates at a density of 10,000 cells per well. After 18 to     respectively, to the effects of SS on cGMP PDE activity
24 hours, the growth media was replaced with serum-free       in cell lysates, intracellular cGMP levels, and the activity
media. After an additional 18 to 24 hours, cells were         of caspases 3 and 7, an early marker of apoptosis. These
treated with compound or vehicle control for 45 minutes.      effects were then compared with the effects on primary
P-Catenin signaling was then stimulated with Wnt3A-           cultures of normal HMECs. As shown in Figure IA, SS
conditioned media from Wnt3A secreting L cells (ATCC).        inhibited cGMP PDE activity in lysates of the breast tumor
After 4 hours, cells were fixed with 4% formalin and          cell lines with IC 50 values of approximately 100 µmol/L,
blocked with 5% FBS. Cells were incubated with P-catenin      which was comparable to concentration required for
primary antibody (BD Transduction Labs) for 2 hours           growth inhibition as previously reported (18). By com-
followed by I-hour incubation in secondary Alexa Fluor        parison, SS caused only marginal inhibition of cGMP
488-conjugated antibody (Invitrogen). Nuclei were             hydrolysis in lysates from HMEC, which displayed
counterstained with DRAQS. P-Catenin expression was           reduced sensitivity to the growth inhibitory activity of
visualized using an Evotec Opera confocal microscope          SS. SS treatment also caused a 3- to 4-fold increase in the
with a 20x objective lens. Colocalization of Alexa Fluor      intracellular levels of cGMP in the breast tumor cell lines



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          A                                                                                   B
           C:
          ~ ~ 80
                    100
                                • HMEC, IC50> 200 µmoVL
                                •MDA-MB-231, IC50= 110µmoVL                      ,_.1
                                                                                                  5
                                                                                                      =
                                                                                                      - HMEC
                                                                                                             MDA-MB-231
                                                                                                      !l!!!I ZR75-1
          ;§ ~                                                                                         'P< 0.05
                                •ZR75-1, IC50 = 94 µmol/L ••/·
                                                                   ......-,,,
          .,:;; 0
          .5 u 60
          W.9                                                                                                                                   Figure 1. Sensitivity of human
          §: °fil 40                                         ...     I
                                                                      I   •                                                                     breast cells to SS correlates with
          a. ;,
                                                                                                                                                PDES expression. A, inhibition of
          ~ ~ 20                                                                                                                                cGMP PDE activity by SS in
           "8
          r1,-       0
                                     ~~                                                                                                         lysates of MDA-MB-231 and
                                                                                                                                                ZR75-1 breast tumor cells or
                          3            10             30             100                300              0         50       100   200           HMECs. B, effect of SS on
                                                 SS (µmol/L)                                                       SS (µmol/L)                  intracellular cGMP levels in
                                                                                                                                                HMECs, MDA-MB-231, and
          C                                                                                       E                                             ZR75-1 cells after 30 minutes of
                    12                                                                                                                          treatment. C, effect of SS on the


                     9
                              =
                              - HMEC
                                   MDA-MB-231
                              el!! ZR75-1
                                                                                                                                                activity of caspases 3 and 7 in
                                                                                                                                                HMECs, MDA-MB-231, and
                              'PS 0.02                                                                                                          ZR75-1 cells after 6 hours of
                                                                                                                                                treatment. +, 1 µmol/L
                                                                                                                                                staurosporine. D, activity of cGMP
                                                                                                                                                PDE isozymes in HMECs,
                                                                                                                                                MDA-MB-231, and ZR75-1
                                                                                                                                                lysates as measured by overall
                                                                                                                                                percentage inhibition induced by
                                0          +        50         100              200                                                             the PDE2-selective inhibitor
                                               SS (µmol/L)                                                                                      EHNA, the PDE3-selective
                                                                                                                                                inhibitor milrinone, or the
                                                                                                                                                PDES-selective inhibitor sildenafil,
          D                   -  5 µmol/L EHNA
                                                                                                                                                or as measured by fold increase in
                              CJ 5 µmol/L Milrinone
                                                                   § Ca2•-CaM                                                                   cGMP hydrolysis after treatment
                              ml 1 µmol/L sildenafil
                    100                                            'P<0.001                                                                     with the activators of PDE1,
                                                                                                                                                calcium, and calmodulin (CaM).
                                                                                                                                                E, expression of cGMP PDE
                                                                                                                                                isozymes in MDA-MB-231, and
                                                                                                                                                ZR75-1 breast tumor cells or
                                                                                                                                                HMECs as measured by Western
                                                                                                                                                blotting.




                                    HMEC        MDA-MB-231           ZR75-1




       (Fig. lB). This effect peaked with 100 µmol/L of SS                                                       PDE3-selective inhibitor milrinone, and the PD ES-selective
       treatment and occurred at concentrations comparable                                                       inhibitor sildenafil. As shown in Figure lD, only sildenafil
       to those necessary for inhibition of cGMP PDE in the                                                      significantly inhibited cGMP hydrolysis in the lysates from
       lysates from the respective breast tumor cell lines. SS did                                               the breast tumor cell lines yet sildenafil had no effect on
       not increase intracellular cGMP levels in HMEC.                                                           cGMP hydrolysis in lysates from HMECs. The effects of
          The effects of SS on apoptosis induction as measured                                                   calcium and calmodulin, specific activators of PDEl, were
       by the activity of caspases 3 and 7 closely mirrored its                                                  also measured and found to cause a 12-fold increase in
       effects on cGMP PDE inhibition in the cell lysates and                                                    cGMP PDE activity in lysates from HMEC but had no effect
       intracellular cGMP levels in intact cells. SS treatment                                                   on cGMP hydrolysis in lysates from the breast tumor cell
       resulted in as much as a 12-fold increase in the activity                                                 lines.
       of caspases 3 and 7 in the breast tumor cell lines (Fig. 1 C)                                                Western blotting revealed that MDA-MB-231 and
       but did not induce caspase activity in HMECs. On                                                          ZR?S-1 breast tumor cell lines displayed different PDE
       the other hand, HMECs were able to undergo apoptosis                                                      isozyme expression patterns when compared with HMECs,
       when treated with the nonselective apoptosis inducer,                                                     as shown in Figure lE. Namely, HMECs expressed a variety
       staurosporine.                                                                                            of cGMP PDE isozym es, including 2 splice variants each of
          We also evaluated the activity and expression of cGMP-                                                 PDEl and PDE9, which were not detected in the tumor
       degrading PDE isozymes in the breast tumor cell lines and                                                 cell lines. By comparison, both breast tumor cell lines
       HMECs. First, we measured the sensitivity of lysates from                                                 expressed high levels of PDES, which were not detected
       HMECs, MDA-MB-231, and ZR?S-1 to inhibition of cGMP                                                       in the HMEC. Consistent with the insensitivity of cGMP
       hydrolysis by the PDE2-selective inhibitor EHNA, the                                                      hydrolysis in breast tumor cell or HMEC lysates to PDE2



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                                                                                                         PDE5 Is Necessary for Breast Tumor Cell Growth




and PDE3 isozyme-specific inhibitors, neither of the cell                           expression after 48 hours of treatment by Western blot-
types expressed appreciable levels of PDE2 or PDE3.                                 ting. As shown in Figure 2A, treatment of the MDA-MB-
                                                                                    231 breast tumor cell line with SS caused a 2-fold increase
Inhibition of PDES is associated with attenuation of                                in the expression of phosphorylated ~-catenin and a 75%
f3-catenin-mediated transcription                                                   decrease in overall ~-catenin expression. Conversely, SS
   Previous studies have shown that SS and sulindac                                 treatment did not affect the expression of phosphorylated
sulfone can suppress nuclear levels of ~-catenin and that                           or total ~-catenin in HMECs.
~-catenin can serve as a substrate for PKG in cell-free                                We also measured treatment effects of SS and MY5445, a
assays (17, 19-23). To determine whether these effects are                          PD ES-selective inhibitor that can inhibit breast tumor cell
related to PDES inhibition and whether PKG can phos-                                growth and induce apoptosis (18), on ~-catenin mRNA
phorylate ~-catenin in intact cells, we evaluated the                               levels in the MDA-MB-231 breast tumor cell line by semi-
expression of ~-catenin phosphorylated at the serine                                quantitative real-time PCR. As shown in Figure 2B, both
33, serine 3 7, or threonine 41 residues after 2 hours of                           compounds decreased the expression of ~-catenin mRNA
SS treatment and compared this with overall ~-catenin                               levels, which resulted in a complete loss of detection of




                                       A                                                                                    B
                                               HMEC                                                MDA-MB-231               ",..
                                                                                                                            ~ 8,00
                                                                                                                            ::,               -- DMSO
                                                                                                                                              - 100µmol/LSS
                                           0    50      100          SS (µmol/L)           0 50 100                         f      6,00       ·- 50 µmol/L MY5445
                                                                 p-p-CateninSer33/37/fhr41 ~                                i 4.aa
                                                                                                                            Q)
                                                                       Total p-catenin         - - -
Figure 2. Inhibition of PDES is                                                                                             "fii   2,00
associated with attenuation of                                              RhoA                                            g
                                                                                                                            :!'
p-catenin-mediated transcription.                                                                                           0
                                                                                                                            ::,           0        10     20   30   40   50   60
A, effect of SS on expression of                                                                                            u:                           Cycle number
p-catenin phosphorylated at the
                                       C             P-Catenin                                     Nuclei                                       Merge
serine 33, serine 37, or threonine
41 residues after 2 hours of
treatment or expression of total
P-catenin after 48 hours of
treatment in HMECs and MDA-
MB-231 cells by Western blotting.
RhoA was used as a loading
control. B, relative levels of
p-catenin mRNA in MDA-MB-231                                     .                                   .
cells after 4 hours of treatment                       -,r
with 100 µmol/L SS or 50 µmol/L
MY5445 as measured by
semiquantitative real-time PCR.                   -t{-_,, _.",....                   .
                                                                                     '         '
DMSO (0.1%) was used as a                        -                       ·'>
vehicle control. C, representative
images from P-catenin imaging
                                           100 µmoll~ SS         /''                                        .
assay depicting the effects of         D                                                                                                                - MDA-MB-231
4 hours of Wnt3A stimulation with                                                - MDA-MB-231                                                           - ZR75-1
(bottom) or without (top) 1 hour of                                            * • ZR75·1                                                               'P< 0.05
                                                                                 • P< 0.05
pretreatment with SS in MDA-MB-
231 cells. D, quantification of the
effects of SS or MY5445 treatment
on Wnt3A induced P-catenin
nuclear localization in MDA-MB-
231 and ZR75-1 breast tumor                                                                                                        25         50
cells. E, activity of Tcf/Lef                                                                                              MY5445 (µmol/L)
transcription factors after 24 hours
of SS treatment in ZR75-1 cells as                               E
measured by luciferase reporter                                                                               • P5 0.001
assay.




                                                                                              60         90        120
                                                                                             SS (µmol/L)




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           P-catenin mRNA. Thus, SS can increase the phosphoryla-          to those necessary for inhibition of MDA-M8-23 l growth
           tion of P-catenin to trigger protein degradation and can        (Fig. 30).
          also suppress the synthesis of P-catenin.
              P-Catenin mediates gene transcription in response to         Suppression of PDES with siRNA is sufficient to
          Wnt stimulation by translocating from the cell surface or        selectively induce apoptosis of breast tumor cells
          cytosol to the nucleus where it can bind to and activate the     through a mechanism involving attenuation of
          T-cell factor/lymphoid enhancer factor (Tcf/Lef) family of       13-catenin-mediated transcription
          transcription factors (24 ). To determine treatment effects of      To further characterize the importance of PD ES for breast
          SS on the nuclear pool of P-catenin, we developed an             tumor cell growth and survival, siRNA was used to suppress
           imaging assay to measure nuclear P-catenin levels follow-       PDES expression in HMEC and ZR75-l breast cells. As
           ing stimulation with Wnt3A-conditioned medium. As               shown in Figure 4A, PDES siRNA caused a significant
          shown in Figure 2C (top), Wnt stimulation increased              reduction in PDES mRNA and protein levels in both the
          nuclear levels of P-catenin in the MDA-M8-231 breast             ZR75-l tumor cell line and HMECs. Consistent with its
          tumor cell line. Pretreatment with SS or MY5445 resulted         known substrate specificity for cGMP and expression pro-
          in decreased levels of nuclear P-catenin (Fig. 2C, bottom        filing as described above, PDES suppression by siRNA
          and 20) in the MDA-M8-231 and ZR75-1 breast tumor cell           resulted in a 40% reduction in cGMP hydrolysis in lysates
          lines at concentrations that inhibited cGMP hydrolysis and       from the ZR75-l cell line but had no effect on cyclic AMP
          increased intracellular cGMP levels. In addition, the effect     ( cAMP) hydrolysis or hydrolysis of cAMP or cGMP in
          of SS on Tcf/Lef transcriptional activity in the ZR75-l breast   lysates from siRNA-treated HMECs (Fig. 48).
          tumor cell line was determined using the TOPflash lucifer-           Suppression of PDES with siRNA reduced ZR75-l
          ase reporter assay. As shown in Figure 2E, SS caused a 40%       growth but had no effect on the growth of HMECs
          to 45% reduction in the activity of these transcription          (Fig. 4C). This effect appeared to be associated with induc-
          factors, which is consistent with reduced P-catenin nuclear      tion of apoptosis rather than inhibition of proliferation
          levels.                                                          because PDES siRNA did not significantly affect prolifera-
              As further evidence that inhibition of PDES and activa-      tion of either ZR75-1 or HMECs, as measured by brorno-
          tion of PKG are associated with the attenuation of P-            deoxyuridine (8rdU) incorporation. Conversely, PDES
          catenin-mediated transcription, we evaluated the effects         siRNA increased caspase activity in ZR75-l tumor cells
          of SS on the expression of survivin, which is an important       but had no effect on caspase activity in HMECs.
          oncogenic protein known to be regulated by P-catenin (25)           To evaluate the effects of PDES suppression on P-
          and compared with the effects on vasodilator-stirnulated         catenin-rnediated transcription, we measured the effects
          phosphoprotein (VASP) phosphorylation, an intracellular          of PDES siRNA on nuclear localization of P-catenin in the
          marker of PKG activity (26). First, we measured the time-        ZR75-l breast tumor cell line. As shown in Figure 40, PDES
          dependent effects of SS treatment in MDA-M8-23 l and             siRNA treatment resulted in a significant decrease in
          HMECs (Fig. 3A). SS reduced survivin protein levels in the       nuclear localization of P-catenin in response to Wnt sti-
          breast tumor cells, which is consistent with inhibition of       mulation. Consistent with the selective effect of PDES
          P-catenin transcriptional activity. This effect on survivin      siRNA on apoptosis, PDES suppression was associated with
          expression was inversely proportional to the effects on          reduced survivin expression in the ZR75-l tumor cell line
          VASP phosphorylation, reaching its maximum effect after          (Fig. 4E).
          4 hours of treatment. HMECs did not express detectable              The effect of PDES siRNA on the sensitivity of ZR75-l
          levels of survivin; therefore, we were unable to measure an      breast tumor cell line to the growth inhibitory potency of
          effect on this protein with SS treatment. Dose-dependent         SS was also evaluated. As shown in Figure 4F, the knock-
          effects of SS treatment on survivin expression were also         down of PDES by siRNA sensitized the cells to the growth
          determined (Fig. 38). Consistent with the time course            inhibitory effects of SS, as evidenced by a significant reduc-
          studies, SS reduced expression of survivin in the breast         tion in the IC 50 value. As a control compound, the PDES
          tumor cells but not in the HMECs due to lack of survivin         inhibitor MY5445 was also evaluated and siRNA was found
          expression. Again, these effects were inversely proportional     to cause a similar reduction in the JC 50 value.
          to the effects on VASP phosphorylation, each peaking with
          100 µmol/L of treatment.                                         Discussion
             To determine whether the effects of SS on survivin
          expression may be related to PDES inhibition, the effects          We previously reported that PDES inhibition and acti-
          of the PDES-selective inhibitors, MY5445 and tadalafil           vation of cGMP/PKG signaling are closely associated with
          were also evaluated in the MDA-M8-23 l breast tumor cell         the tumor cell growth inhibitory and apoptosis inducing
          line (Fig. 3C). MY5445 and tadalafil caused a dose-depen-        activity of SS as well as certain other NSAIDs (18, 19).
          dent increase in VASP phosphorylation after 3 hours of           However, the downstream mechanism responsible for
          treatment. Furthermore, both compounds caused a dose-            mediating the induction of apoptosis following PKG
          dependent decrease in survivin protein levels, which was         activation has not been defined, nor has the importance
          inversely proportional to the effects on VASP phosphoryla-       of PDES for breast tumor cell growth and survival been
          tion. These effects occurred at concentrations comparable        recognized. Here we show that the MDA-M8-231 and



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                                                                                                                      PDES Is Necessary for Breast Tumor Cell Growth




                                     A                             HMEC                                                                                MDA-MB-231
                                                            (SS treatment time)                                                                     (SS treatment time)



                                                                                                              p-VASPSer239

                                                                                                                   Survivin

                                                                                                                    RhoA




Figure 3. Inhibition of PDE5 is      B
associated with decreased                                                     SS concentration (pmol/L)
survivin expression. A, time-                         HMEC                         MDA-MB-231                                 ZR75-1
dependent effects of 100 µmol/L
                                                                  0     0                                0   0                          0    0
SS treatment on the expression of                     0           0     0                    0           0   0                0         0    0
                                              0       L{)               (\J           O      LO              C\J      O       L{)            (\J
p-VASPSe<2 39 and survivin in
HMECs and MDA-MB-231 cells.
RhoA was used as a loading
control. B, dose-dependent
effects of 2 hours of SS treatment
on the expression of p-VASPseo239
and survivin in HMECs, MDA-MB-
231, and ZR75-1 cells. C, dose-
dependent effects of 3 hours of
MY5445 or tadalafil treatment on
p-VASPseo239 and survivin
                                     C         MDA-MB-231                                                                     MDA-MB-231
expression in MDA-MB-231 cells.               MY5445 (µmol/L)                                                               Tadalafil (µmol/L)
RhoA was used as a loading
                                                                                0                                                      L{)    L{)      0
control for MY5445 treatment.                               LO        O         0                                    0        L{)             (\J      L{)
                                                  0         (\J       L{)
Glyceraldehyde-3-phosphate
dehydrogenase (GAPDH) was
                                                                                          p-VASPSer239
used as a loading control for
tadalafil treatment. D, effects of                                                         Survivin
tadalafil and MY5445 on MDA-
MB-231 breast tumor cell growth.                                                            Control



                                     D        100                                                                         • Tadalafil, IC50 = 41.4 µmol/L
                                     §   g
                                     :-e §
                                              80
                                                                                                        .•
                                                                                                                          • My5445, IC50 - 25.0     µm:r-
                                     ig
                                     ·- -o
                                              60                            Tadalafil,
                                                                            IC50 = 0.2 nmoW
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                                              40                            My5445,
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                                     a. o.                                    IC50 = 13.3_µ.•• ol/L
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                                              0.00001             0.001     10       10                             0.3        1        3     10      30     100
                                                                   Compound (µmol/L)                                                Compound (µmol/L)




ZR75-l breast tumor cell lines rely predominantly on                                                  dominantly on PDES for cGMP hydrolysis. This was shown
PDES for hydrolysis of cGMP, that selective inhibition                                                by measuring cGMP hydrolysis in cell lysates, which
of this cGMP-specific isozyme with SS, known PDES                                                     revealed that breast tumor cell lysates were more sensitive
inhibitors, or siRNA is sufficient to induce apoptosis of                                             than lysates from HMECs to inhibition by the PDES-
breast tumor cells, and that the proapoptotic effects                                                 selective inhibitor sildenafil, whereas lysates from HMECs
of PDES inhibition are mediated through attenuation                                                   were more sensitive to the PDE! activators, calcium and
of ~-catenin-mediated transcription.                                                                  calmodulin. PDE isozyme profiling by Western blotting
  Normal mammary epithelial cells, as is likely the case                                              also revealed high levels of PDES and low levels of other
with other cell types, appear to rely more heavily on                                                 cGMP PDE isozymes in the breast tumor cells. We therefore
multiple PDE isozymes, such as PD El or PDE9, for cGMP                                                conclude that PDES inhibition by SS can account for its
hydrolysis, whereas breast tumor cells appear to rely pre-                                            improved potency to induce apoptosis of breast tumor cell



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           A                                                                                     B
                       HMEC                        ZR75-1
                Q)                           Q)
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                                                                                                       60
                                                                                                 Q)                                                         Figure 4. Suppression of PDES
                                                                                                 13
                                                                                                 :C    40                                                  with siRNA is sufficient to
                                            -PDE5li                                              ~                                                         selectively induce apoptosis of
                                                                                                 o     20                                                  breast tumor cells. A, effect of
                                            - Actin                                 E
                                                                                                                                                            PDES siRNA on PDES mRNA (top)
                                                                                                                                                           or protein (bottom) levels in HMEC


                                        __
                                                                                                             HMEC       ZR75·1      HMEC      ZR75·1
                                                                                                                                                           and ZR75-1 cells. Actin was used
                     ~':::::::i:::-::.:~==.. . . .;.--!PD~511                                                  cAMP PDE               cGMP PDE
                                                  ...;.....;,;...;.. ...... Actln   o..
                                                                                                                 activity               activity
                                                                                                                         - Negative control
                                                                                                                                                           as PCR and loading control for
                                                                                                                                                           mRNA studies, whereas actin was
                                                                                                                             PDE5A siRNA
                                                                                                                         c:::J                             used as a loading control for the
                                                                                                                         · P:0.005                         protein studies. B, effect of PDES
                                                                                                                                                           siRNA on cAMP and cGMP
           C
                120
                                                                                          D                                                                hydrolysis in HMEC and ZR75-1
                                                                                                       110                               'P= 0.001
           'C                                                                             z,                                                               cells. C, effect of PDES siRNA on
           ~    100
                                                                                          'iii                                                             growth, proliferation, and caspase
                                                                                          C
           2                                                                              ~ ~ 100                                                          activity in HMEC and ZR75-1
           ~ eao                                                                                                                                           cells. D, effect of PDES siRNA on
           ~c:                                                                            ~E0
           § 8 60                                                                         Q)                                                               nuclear localization of P-catenin in
                                                                                          O u 90
                                                                                                                                                           response to Wnt3A stimulation in
                 40
                                                                                          EC
                                                                                          C                                                                the ZR75-1 breast tumor cells.
                                                                                          "'
                                                                                          Q)

                                                                                          ::E           80                                                 E, expression of survivin in HMEC
                           HMEC ZR75·1 HMEC ZR75·1 HMEC ZR75·1                                                                                             and ZR75-1 cells after treatment
                              Growth        Proliferation        Caspase                                      Negative control        PDES siRNA           with PDES siRNA. RhoA was used
                                                                  activity                                                                                 as loading control. F, effect of
                                        - Negative control                                                                                                 PDES siRNA on sensitivity of
                                        E:J PDE5A siRNA                                                                                                    ZR75-1 breast tumor cells to
                                         • P< 0.03                                         F                                                               growth inhibition by SS or
                                                                                                        90                          - Negative control
                                                                                            g_                                      =    PDE5A siRNA
                                                                                                                                                           MY5445. All experiments utilized
                                                                                                                                                           200 nmol/L siRNA with 0.5%
           E           HMEC                       ZR75-1
                                                                                           ~ ~ 75
                                                                                           a. E
                                                                                                                                         • P< 0.05         SureFECT transfection reagent.
                                                                                            ,-.1
                                                                                                                                                           Cells were transfected for 96
                  Q)                              Q)                                       } ()~ 60                                                        hours before being assayed. For
                  >-                              >-
                 ~g    ;;!; <(                    ~g    ;;!; <(                            :c:::::..
                                                                                           c:-                                                             experiments involving drug
                 CJ) C wz                         CJ) C wz                                 ~ Lt)
                  Q)   0       0       a:         Q)   0        0      a:                  ~ ~ 45
                                                                                                                                                           treatment, cells were treated after
                 z ()          0.. 'iii           z ()          0.. 'iii                                                                                   24 hours of transfection.
                                                                                           (!)

                                                                                                        30
                                                                                                                    ss                  MY5445




       Jines, given its specificity to inhibit PDES without affecting                                                      with SS, known pharmacologic inhibitors ( e.g., MY5445
       PDEl or PDE9 (18). Furthermore, the PDES expression                                                                 and tadalafil) and PDES siRNA were sufficient to inhibit
       pattern observed here is consistent with a previous study                                                           growth and induce apoptosis of breast tumor cells, which
       that reported high levels of PDES expression in invasive                                                            is consistent with the increased reliance of these cells
       breast tumor cells from clinical biopsies but not in the                                                            on PDES for cGMP hydrolysis. Although SS may have
       surrounding normal tissue (27) as well as other studies that                                                        additional targets that are relevant for cancer chernopre-
       have reported high levels of PD ES expression in carcinomas                                                         vention, especially inhibition of COX and suppression of
       from colon (19), bladder (28), and lung (29). Consistent                                                            prostaglandin synthesis (18, 31-33), PDES inhibition
       with these observations, cGMP levels have been reported to                                                          appears to be more closely associated with its tumor cell
       be decreased in colon tumors compared with normal colon                                                             growth inhibitory activity compared with COX-2 inhibi-
       mucosa (30). Although PDES has not been recognized to                                                               tion (18, 19). In support of this possibility, PDES knock-
       play a role in tumor cell survival, our results suggest the                                                         down by siRNA increased the sensitivity of breast tumor
       possibility that its expression in tumor cells and resulting                                                        cells to SS.
       decreased intracellular cGMP levels may stimulate tumor                                                                We also investigated the potential involvement of the
       cell proliferation or inhibit apoptosis, although further                                                           Wnt/~-catenin pathway in the proapoptotic effects of PD ES
       studies are needed to fully define a role in tumorigenesis.                                                         inhibition because deregulation of this pathway is com-
          As evidence that PDES is necessary for the growth and                                                            mon in breast cancer (34) and attenuation ofWnt signaling
       survival of breast tumor cells, selective inhibition of PDES                                                        at the level of ~-catenin has been previously implicated in



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                                                                                              PDES Is Necessary for Breast Tumor Cell Growth




                                      A
                                       GTP~



Figure 5. COX-independent
                                                          /i         cGMP ---+      j   PKG   ----J    l   ~-catenin-mediated transcription
                                                                                                           of cyclin D1, c-rnyc, and survivin
anticancer mechanism of SS. A,
because breast tumor cells                    / PDE5                                                                               '"\.
predominantly rely on PDES for        S'-GMP /
hydrolysis of cGMP, selective
inhibition of PDES by SS results in                     T                                               Survival                    Apoptosls
accumulation of cGMP, activation
of PKG, and attenuation of
                                                         ss
                                                       MY5445
p-catenin-mediated transcription,                      siRNA
ultimately resulting in apoptosis.
B, normal breast cells
predominantly rely on SS-
insensitive PDE isozymes, such as
                                      B
PDE1 and PDE9, for cGMP                GTP -....._______ GC
hydrolysis, which allows for
hydrolysis of cGMP even in the
presence of PDE5-selective                            ---------..1   cGMP   -----1      PKG   ----J    i   IJ-<;atenin-mediated transcription
                                                                                                           of cyctin D1, c-myc, and survivin
inhibitors and prevents                                  /
accumulation of cGMP and
desensitizes these cells to the
proapoptotic effects of PDE5
inhibition.
                                      5'-GMP
                                                  PDE1
                                               /andPDE9
                                                                                                               I
                                                                                                       Survival                     Apoptosis
                                                         ss
                                                       MY5445
                                                       siRNA




the proapoptotic effects of SS and sulindac sulfone ( 17, 19-               the discovery of safer and more efficacious drugs for cancer
23, 35). Although previous studies have reported the ability                chernoprevention. As depicted in Figure SA, we hypothesize
of PKG to phosphorylate P-catenin in cell-free models, we                   that selective inhibition of PDES with compounds such
provide here the first evidence that cGMP signaling can                     as SS induces apoptosis through a mechanism involving
increase P-catenin phosphorylation in intact cells and that                 elevation of intracellular cGMP levels, activation of PKG,
this effect appears to be tumor cell specific given that this               and attenuation of P-catenin-mediated transcription.
effect was not apparent in normal mammary epithelial                        However, the expression of other PDE isozymes ( e.g.,
cells. Consistent with these observations, we found that                    PDEl and PDE9) in the normal breast cells compensates
activation of PKG by PDES inhibitors or PDES siRNA was                      for the loss of cGMP hydrolysis by PDES, ultimately desen-
also associated with attenuation of P-catenin-mediated                      sitizing these cells to the proapoptotic effects of SS
transcription as measured by expression of total or phos-                   (Fig. SB). These findings show that PDES is an important
phorylated P-catenin, nuclear localization of P-catenin,                    protein necessary for breast cancer cell growth and survival
activity of Tcf/Lef transcription factors, and expression of                that warrants further study to assess the role of this enzyme
proteins that are regulated by Tcf/Lef-mediated transcrip-                  and signaling pathway in carcinogenesis.
tion. All of these effects occurred at comparable concentra-
tions necessary for inducing apoptosis of the breast tumor                   Disclosure of Potential Conflicts of Interest
cells, showing that attenuation of P-catenin-mediated
transcription is an important mediator of cGMP-dependent                        No potential conflicts of interest were disclosed.
apoptosis induction in breast tumor cells.
   Taken together, these findings show the importance of                     Grant Support
PDES expression and activity for the survival of breast tumor
                                                                                The work was supported by National Cancer Institute grants CA131378
cells as well as sensitivity to SS. Although the concentrations              and CA148847.
of SS described here are significantly higher than plasma                       The costs of publication of this article were defrayed in pan by the payment
concentrations that can be achieved with standard dosages                    of page charges. This article must therefore be hereby marked advertisement
                                                                             in accordance with 18 U.S.C. Section 1734 solely to indicate this fact.
of sulindac (36), these results suggest that PDES inhibition
may be an important off-target effect responsible for its                       Received February 21, 2011; revised March 22, 2011; accepted March 29,
anticancer properties observed in vitro, which could lead to                 2011; published OnlineFirst April 19, 201 I.



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